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                                                                                                   Exhibit A
                                                                                               Master Service List


                Description                                       Name                                         Address                                  Email                Method of Service
50 Largest                                     008beac3‐c9e4‐4760‐9a4c‐b67977d15981        Address Redacted                             Email Address Redacted        Email
50 Largest                                     01014189‐63a3‐43c0‐b6fc‐651ddccaa276        Address Redacted                             Email Address Redacted        Email
50 Largest                                     0aaa95f4‐0b64‐41a0‐8212‐2f4468de8d5e        Address Redacted                             Email Address Redacted        Email
50 Largest                                     0d372cc9‐9c01‐40ab‐996a‐28f0032b2a26        Address Redacted                             Email Address Redacted        Email
50 Largest                                     12dba393‐1a79‐4ffe‐a58d‐782d80c140ba        Address Redacted                             Email Address Redacted        Email
50 Largest                                     13e5eb91‐0087‐4936‐9f9b‐fb73052b5f1a        Address Redacted                             Email Address Redacted        Email
50 Largest                                     1e09e8ec‐8b17‐422d‐b3f3‐cb96ee71fbaa        Address Redacted                             Email Address Redacted        Email
50 Largest                                     1fc8d534‐be33‐4884‐bc54‐edbab65f5b13                                                     Email Address Redacted        Email
50 Largest                                     210de341‐83a8‐474c‐a37e‐61d2c10c8734        Address Redacted                             Email Address Redacted        Email
50 Largest                                     2482db41‐3e56‐4a7b‐b3a1‐c332df465fa9                                                     Email Address Redacted        Email
50 Largest                                     27f81091‐66c7‐458a‐a4f9‐31f636c9b5c7                                                     Email Address Redacted        Email
50 Largest                                     2a54b310‐c531‐49eb‐a704‐f5933e925168                                                     Email Address Redacted        Email
50 Largest                                     2ede9c2c‐3f1c‐4c1f‐913c‐7fe64dd5af6f                                                     Email Address Redacted        Email
50 Largest                                     3264a54a‐1218‐46b6‐ac7d‐1d7773995563        Address Redacted                             Email Address Redacted        Email
50 Largest                                     3f28305a‐7f4a‐41ff‐a707‐e1d25ac111f9        Address Redacted                             Email Address Redacted        Email
50 Largest                                     4ede2655‐0b05‐4b45‐9f04‐de15d8c4f521        Address Redacted                             Email Address Redacted        Email
50 Largest                                     4f7f1b08‐a58c‐4bed‐b0b5‐16e246c52880                                                     Email Address Redacted        Email
50 Largest                                     518eeb1b‐dfb2‐4be7‐acee‐7d3ccd74e5d5                                                     Email Address Redacted        Email
50 Largest                                     58611824‐5bc6‐442d‐b239‐b548b4a4eec3                                                     Email Address Redacted        Email
50 Largest                                     5cfb7e9b‐08dc‐4691‐a7a0‐91789961f52c        Address Redacted                             Email Address Redacted        Email
50 Largest                                     6341b91e‐7b9f‐4f56‐a6a9‐c66069ad945d                                                     Email Address Redacted        Email
50 Largest                                     6a24bb04‐4799‐4da8‐b799‐98e9887b5d43                                                     Email Address Redacted        Email
50 Largest                                     6ce22b6a‐eaab‐4150‐860a‐87d822ce49e6                                                     Email Address Redacted        Email
50 Largest                                     7e8620c2‐7ff2‐4802‐9979‐6bc46d6b8fb7        Address Redacted                             Email Address Redacted        Email
50 Largest                                     83393306‐9343‐4855‐8987‐868266cb144e                                                     Email Address Redacted        Email
50 Largest                                     925d0c0b‐c584‐4005‐9e48‐025493db1f09        Address Redacted                             Email Address Redacted        Email
50 Largest                                     93ec913d‐a376‐4c3a‐8844‐93daf932b7d6        Address Redacted                             Email Address Redacted        Email
50 Largest                                     a1472e35‐7879‐403d‐b912‐33b369f974bc        Address Redacted                             Email Address Redacted        Email
50 Largest                                     a577b1ff‐00ed‐4872‐a9ce‐647cabbd4921        Address Redacted                             Email Address Redacted        Email
50 Largest                                     ae2ee974‐3f89‐4cb1‐bcb4‐64361b44486a                                                     Email Address Redacted        Email
Attorneys general in the states where the      Arizona Attorney General Mark Brnovich      Office of the Attorney General                                             Overnight Mail
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                                                                                           Phoenix, AZ 85004
Attorneys general in the states where the      Arkansas Attorney General                   323 Center St, Ste 200                                                     Overnight Mail
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Attorneys general in the states where the      Attorney General of the State of Ohio       30 E Broad St, 14th Fl                                                     Overnight Mail
Debtors conduct their business operations                                                  Columbus, OH 43215

Attorneys general in the states where the      Attorney General State of Mississippi       550 High St                                                                Overnight Mail
Debtors conduct their business operations                                                  Jackson, MS 39201

Attorneys general in the states where the      Attorney General's Office                   State of Alabama                                                           Overnight Mail
Debtors conduct their business operations                                                  501 Washington Ave
                                                                                           Montgomery, AL 36104
50 Largest                                     b59cdaee‐c5c7‐4914‐8741‐335a0bd25e41        Address Redacted                             Email Address Redacted        Email
50 Largest                                     c09b87dc‐64d8‐440d‐b71f‐b2efcfe2aff6        Address Redacted                             Email Address Redacted        Email
50 Largest                                     c62b2459‐1676‐4e4e‐9caa‐99a0b420a404        Address Redacted                             Email Address Redacted        Email
50 Largest                                     cd16ebb3‐96f5‐4864‐8a02‐fc8d2463734f        Address Redacted                             Email Address Redacted        Email
Attorneys general in the states where the      Commonwealth of Puerto Rico Office of the   P.O. Box 902192                                                            Overnight Mail
Debtors conduct their business operations      Attorney General                            San Juan, PR 00902

50 Largest                                     d375ee9b‐ef35‐45fe‐81ae‐7eb0a643781b        Address Redacted                             Email Address Redacted        Email
50 Largest                                     db61b2ac‐da20‐4304‐9c5e‐9285060cc799        Address Redacted                             Email Address Redacted        Email
50 Largest                                     dbe0b606‐15c8‐43f3‐8517‐14ac18907906        Address Redacted                             Email Address Redacted        Email
50 Largest                                     dcb22222‐657a‐400a‐b98b‐495711848302        Address Redacted                             Email Address Redacted        Email
50 Largest                                     dd2f7fdc‐2163‐42af‐a90e‐2d76007a16f0        Address Redacted                             Email Address Redacted        Email
50 Largest                                     dd88f140‐297b‐4811‐88c0‐f18afd1b8752        Address Redacted                             Email Address Redacted        Email
United States Attorney’s Office for the        Delaware Department of Justice              Carvel State Building                                                      Overnight Mail
District of Delaware                                                                       820 N French St
                                                                                           Wilmington, DE 19801
Attorneys general in the states where the      Department of Attorney General              525 W Ottawa St                                                            Overnight Mail
Debtors conduct their business operations                                                  Lansing, MI 48906

Attorneys general in the states where the      Department of Justice                       114 W Edenton St                                                           Overnight Mail
Debtors conduct their business operations                                                  Raleigh, NC 27603

50 Largest                                     e78e6f3a‐5be9‐49b8‐be09‐0c619928b44f                                                     Email Address Redacted        Email
50 Largest                                     f25c6a91‐1afa‐48fd‐abd9‐e511999da04c        Address Redacted                             Email Address Redacted        Email
50 Largest                                     f536e49d‐aa7a‐4a54‐a9ea‐fcba81492b5c        Address Redacted                             Email Address Redacted        Email
50 Largest                                     f9999a5f‐fa69‐46ab‐aff4‐bca7e8ddeb56        Address Redacted                             Email Address Redacted        Email
50 Largest                                     f9c46d34‐51fa‐4e10‐aa95‐93137c2de7e8                                                     Email Address Redacted        Email
50 Largest                                     fadf45ef‐bc0f‐4353‐9850‐fd1e77b29697        Address Redacted                             Email Address Redacted        Email
50 Largest                                     fb923c5c‐30ca‐4100‐9f55‐beeac5ba6ea8        Address Redacted                             Email Address Redacted        Email
50 Largest                                     Financial Crimes Enforcement Network        P.O. Box 39                                  FRC@fincen.gov                Email
                                                                                           Vienna, VA 22183
Governmental Authority                         Florida Office of Financial Regulation      Attn: Brandon Greenberg, Assistant General   Brandon.Greenberg@FLOFR.gov   Email
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                                                                                           2970 Market St
                                                                                           Mail Stop 5‐Q30.133
                                                                                           Philadelphia, PA 19104‐5016




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                                                                                                          Exhibit A
                                                                                                      Master Service List


                Description                                        Name                                             Address                               Email                  Method of Service
Attorneys general in the states where the       Kansas Attorney General Derek Schmidt             120 SW 10th Ave, 2nd Fl                                                 Overnight Mail
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Attorneys general in the states where the       Louisiana Department of Justice                   P.O. Box 94005                                                          Overnight Mail
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Debtors conduct their business operations                                                         Baltimore, MD 21202

Attorneys general in the states where the       Nebraska Attorney General                         2115 State Capitol                                                      Overnight Mail
Debtors conduct their business operations                                                         Lincoln, NE 68509

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Debtors conduct their business operations                                                         Villagra Building
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Attorneys general in the states where the       Office of Attorney General                        600 E Boulevard Ave, Dept 125                                           Overnight Mail
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50 Largest                                      Office of Foreign Asset Control                   1500 Pennsylvania Ave NW                 Ofac_feedback@treasury.gov     Email
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                                                                                                  Trenton, NJ 08611
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Debtors conduct their business operations                                                         Austin, TX 78701

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Debtors conduct their business operations                                                         Richmond, VA 23219

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Commission                                                                                        Attn: Sherri K Simpson                   sherri.simpson@oag.texas.gov
                                                                                                  Bankruptcy & Collections Division
                                                                                                  P.O. Box 12548
                                                                                                  Austin, TX 78711‐2548
Attorneys general in the states where the       Office of the Attorney General for the District   400 6th St, NW                                                          Overnight Mail
Debtors conduct their business operations       of Columbia                                       Washington, DC 20001

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                                                                                                  Des Moines, IA 50319
*NOA ‐ Counsel for Texas Department of          Office of the Attorney General of Texas           Attn: Roma N Desai                       roma.desai@oag.texas.gov       Email
Banking                                                                                           Attn: Sean T Flynn                       sean.flynn@oag.texas.gov
                                                                                                  Bankruptcy & Collections Division
                                                                                                  P. O. Box 12548
                                                                                                  Austin, TX 78711‐2548
*NOA ‐ Counsel for the Office of the Illinois   Office of the Illinois Attorney General           Attn: John P Reding                      John.reding@ilag.gov           Email
State Treasurer                                                                                   100 W Randolph St, Ste 13‐225
                                                                                                  Chicago, IL 60601
Attorneys general in the states where the       Office of the Maine Attorney General              6 State House Station                                                   Overnight Mail
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Debtors conduct their business operations                                                         1900 Kanawha Blvd E
                                                                                                  Charleston, WV 25305
Attorneys general in the states where the       Oregon Department of Justice                      1162 Court St NE                                                        Overnight Mail
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                                                                                                                                           dbertenthal@pszjlaw.com;
                                                                                                                                           tcairns@pszjlaw.com




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                                                                                                   Exhibit A
                                                                                               Master Service List


                Description                                          Name                                     Address                                   Email                   Method of Service
Attorneys general in the states where the      RI Office of the Attorney General           150 S Main St                                                                 Overnight Mail
Debtors conduct their business operations                                                  Providence, RI 02903

50 Largest                                     Securities & Exchange Commission            100 Pearl St, Ste 20‐100                                                      Overnight Mail
                                                                                           New York, NY 10004
Attorneys general in the states where the      South Carolina Attorney General's Office    The Honorable Alan Wilson                                                     Overnight Mail
Debtors conduct their business operations                                                  P.O. Box 11549
                                                                                           Columbia, SC 29211
Attorneys general in the states where the      South Carolina Attorney General's Office    Rembert Dennis                                                                Overnight Mail
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                                                                                           Columbia, SC 29201
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Debtors conduct their business operations                                                  700 W Jefferson St, Ste 210
                                                                                           P.O. Box 83720
                                                                                           Boise, ID 83720
Attorneys general in the states where the      Tennessee Attorney General's Office         Bankruptcy Division                                                           Overnight Mail
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                                                                                           Nashville, TN 37202
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                                                                                           Wilmington, DE 19801
*NOA ‐ Counsel for Endurance American          The Powell Firm, LLC                        Attn: Jason C Powell                         jpowell@delawarefirm.com         Email
Insurance Company                                                                          1813 N Franklin St
                                                                                           PO Box 289
                                                                                           Wilmington, DE 19899
*NOA ‐ Counsel for TN Dept of Revenue          TN Dept of Revenue                          c/oTN Attorney General's Office Bankruptcy   AGBankDelaware@ag.tn.gov         Email
                                                                                           Division
                                                                                           Attn: Laura L McCloud
                                                                                           P.O. Box 20207
                                                                                           Nashville, TN 37202‐0207
United States Trustee for the District of      United States Trustee for the District of   844 King St, Ste 2207                        Richard.Schepacarter@usdoj.gov   Email
Delaware                                       Delaware                                    Lockbox 35
                                                                                           Wilmington, DE 19801
Attorneys general in the states where the      Washington State                            Office of the Attorney General                                                Overnight Mail
Debtors conduct their business operations                                                  1125 Washington St SE
                                                                                           P.O. Box 40100
                                                                                           Olympia, WA 98504
*NOA ‐ Counsel for Azim Ghader                 Womble Bond Dickinson (US) LLP              Attn: Donald J Detweiler                     don.detweiler@wbd‐us.com         Email
                                                                                           Attn: Elazar A Kosman                        elazar.kosman@wbd‐us.com
                                                                                           1313 N Market St, Ste 1200
                                                                                           Wilmington, DE 19801




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                     EXHIBIT B
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                                                                                   Exhibit B
                                                                                   Service List


                       Name                                              Address                                 Email                    Method of Service
BODG Society                                           11210 E 10th St S                                                           Overnight Mail
                                                       Independence, MO 64054
00835256‐156c‐4034‐88d4‐97ec44c2328a                                                              Email Address Redacted           Email
0114e11d-ebbd-4698-9f68-86ff4a97975d                                                              Email Address Redacted           Email
0196fa49-e86b-4a14-9ff6-f2d5b1744170                                                              Email Address Redacted           Email
025361dd‐ca97‐4815‐88f8‐ce2705f09933                                                              Email Address Redacted           Email
0275bbeb-97a3-4d4e-ac78-05685c1fdbfe                                                              Email Address Redacted           Email
0290737e-0bf8-4f24-9cf8-91ebe918fd93                                                              Email Address Redacted           Email
02bfd332-ddd3-4c30-af55-fdcd1983bff6                                                              Email Address Redacted           Email
0412096a-5d30-4f6b-b578-a597882079f0                                                              Email Address Redacted           Email
046ca60a-2d9a-4c91-b524-7be1183a1417                                                              Email Address Redacted           Email
05bac980‐d47a‐4336‐b290‐e35018ab2064                                                              Email Address Redacted           Email
05bac980‐d47a‐4336‐b290‐e35018ab2064                                                              Email Address Redacted           Email
0704810e‐9509‐4aa9‐9487‐448b2d18868a                                                              Email Address Redacted           Email
0704810e-9509-4aa9-9487-448b2d18868a                                                              Email Address Redacted           Email
086d124c-6cae-4d1f-96cc-9cc21158c4a5                                                              Email Address Redacted           Email
0b4a78a6-8e66-4c25-8eb1-c76b44cfbc72                                                              Email Address Redacted           Email
0cc508c7‐22ef‐446c‐9eb9‐2c0981a3123c                                                              Email Address Redacted           Email
0ce8b156-7df8-4de8-a15d-fc97123cd75a                                                              Email Address Redacted           Email
0d3a68fe‐0818‐4617‐a544‐87d6a130321f                                                              Email Address Redacted           Email
0dac0752-64c3-44c4-90f0-456988c881a4                                                              Email Address Redacted           Email
0e7e1155-e535-4c7d-a40a-5a893e80214d                                                              Email Address Redacted           Email
0e7e1155-e535-4c7d-a40a-5a893e80214d                                                              Email Address Redacted           Email
0eba1900-3d41-4e9b-b679-1f0da90678d8                                                              Email Address Redacted           Email
0f9625ac-7ed8-42c4-8050-7ec8a947a83e                                                              Email Address Redacted           Email
0f96c3ed-1d14-41da-9ab0-2785eb85eb8d                                                              Email Address Redacted           Email
0f975d00-6d1f-4b8b-a154-84fa818e2040                                                              Email Address Redacted           Email
0feb3bc9-9682-4318-99c4-b55b0355404e                                                              Email Address Redacted           Email
1062131b-cafd-48e9-8f8a-cb902266deb7                                                              Email Address Redacted           Email
1533c5a0-0741-411c-991d-022724ea35d0                                                              Email Address Redacted           Email
15a9714d-2996-499d-ab51-697fa2fe9cef                                                              Email Address Redacted           Email
16cf6c35-76da-4bd2-89f8-2ac83dfc2dff                                                              Email Address Redacted           Email
19af4fce-8463-473e-869c-13a95e6c5114                                                              Email Address Redacted           Email
1ba5aa3e‐5ded‐4562‐819e‐2327d26fd723                                                              Email Address Redacted           Email
1c3ba48a-5971-4f5c-8bcf-71960d89168a                                                              Email Address Redacted           Email
1ca296ed-5017-4406-8c51-f64ca78d626a                                                              Email Address Redacted           Email
1cb88c4b‐92b1‐4884‐a05a‐e74f9ddbca0a                                                              Email Address Redacted           Email
1cb88c4b‐92b1‐4884‐a05a‐e74f9ddbca0a                                                              Email Address Redacted           Email
1cf2d217-712c-44e0-becf-9bcd6aed3c9a                                                              Email Address Redacted           Email
1de8f627-4d40-431e-b086-b49d02e376dd                                                              Email Address Redacted           Email
20b84745-2702-4bc8-ada3-3184f0bbddfb                                                              Email Address Redacted           Email
21d1c638-bcff-4f0b-b2c5-055fba06544f                                                              Email Address Redacted           Email
2210d2fb‐3175‐495e‐accd‐7c1378851695                                                              Email Address Redacted           Email
233d31cf-8a65-460c-84b0-b37ff8bd0278                                                              Email Address Redacted           Email
23d01ce4-231d-4228-81ac-1566f6795450                                                              Email Address Redacted           Email
254628e5-30cd-4afb-a13a-e5c67306c74f                                                              Email Address Redacted           Email
254628e5-30cd-4afb-a13a-e5c67306c74f                                                              Email Address Redacted           Email
27c6f206‐0329‐4523‐9e46‐3e327438a99f                                                              Email Address Redacted           Email
27c6f206-0329-4523-9e46-3e327438a99f                                                              Email Address Redacted           Email
27c6f206-0329-4523-9e46-3e327438a99f                                                              Email Address Redacted           Email
2906310e-b192-4da5-b3ce-56ecc7997e22                                                              Email Address Redacted           Email
29caa0e1‐5f21‐459b‐8578‐992c00e014cc                                                              Email Address Redacted           Email
2a613e51‐0c38‐4bd8‐bf58‐0387f6d295f8                                                              Email Address Redacted           Email
2a613e51‐0c38‐4bd8‐bf58‐0387f6d295f8                                                              Email Address Redacted           Email
2aac9d2e-4251-4cd9-96e1-95139a601a2c                                                              Email Address Redacted           Email
2c08232d-6c16-4b72-a86d-3fb5eb98295d                                                              Email Address Redacted           Email
2c981e53‐ccfa‐4b82‐868d‐bfb17b0a4e84                                                              Email Address Redacted           Email
2dbc4c46-583f-4d4f-bdc3-d2887cad684f                                                              Email Address Redacted           Email
31070476‐625d‐4c85‐8571‐c0a2f9533c61                                                              Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                                               Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                                               Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                                               Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c0c27fd                                                              Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c0c27fd                                                              Email Address Redacted           Email
333e7a81-a47d-4d3f-acba-f3058c0c27fd                                                              Email Address Redacted           Email
3369e8bc-b51e-443e-bf2d-ae07a7028e10                                                              Email Address Redacted           Email
33e93298‐06b5‐4ebb‐a26d‐0abd8d328c7f                                                              Email Address Redacted           Email
33e93298‐06b5‐4ebb‐a26d‐0abd8d328c7f                                                              Email Address Redacted           Email
3596b578-9d4b-4379-ad47-f35acd2e10e5                                                              Email Address Redacted           Email




Desolation Holdings LLC, et al., (Case No. 23‐10597)
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                                                                 Exhibit B
                                                                 Service List


                    Name                               Address                                  Email                    Method of Service
365e0435-3a4a-4336-8e52-bc8535c8db51                                            Email Address Redacted           Email
3735d466-fddc-47b5-b303-3d0fb90ade2f                                            Email Address Redacted           Email
38047a39-4c1f-45d4-989b-5b0365bf8538                                            Email Address Redacted           Email
39b4ad17-ceb2-45f2-913d-b1236b1d72da                                            Email Address Redacted           Email
3a03d328‐cf68‐4c35‐891f‐22bc4edf4ed2                                            Email Address Redacted           Email
3a325d90-d785-4b54-9fc0-032264b6f8a0                                            Email Address Redacted           Email
3c953202-2480-41bb-88bb-c57c35085962                                            Email Address Redacted           Email
3c953202-2480-41bb-88bb-c57c35085962                                            Email Address Redacted           Email
3d567d07-d570-45c0-a10a-cea3ff499650                                            Email Address Redacted           Email
3e14582b-a16a-4bf2-8e6e-52c2342d0bcc                                            Email Address Redacted           Email
3e14582b-a16a-4bf2-8e6e-52c2342d0bcc                                            Email Address Redacted           Email
3e4e86ff-2b93-4b22-8b01-7a1730160ad2                                            Email Address Redacted           Email
3e4e86ff-2b93-4b22-8b01-7a1730160ad2                                            Email Address Redacted           Email
3ef3cd7d-2013-4ce3-a838-19c35c7f5639                                            Email Address Redacted           Email
3ef3cd7d-2013-4ce3-a838-19c35c7f5639                                            Email Address Redacted           Email
3f0c5a50-d893-4596-855d-c0cef338adab                                            Email Address Redacted           Email
3f17aa4c-f5cd-4693-b43d-ccf5acda436c                                            Email Address Redacted           Email
3f17aa4c-f5cd-4693-b43d-ccf5acda436c                                            Email Address Redacted           Email
3f5fa231-8a95-4f99-8309-989510f79470                                            Email Address Redacted           Email
42b90476‐51fe‐4d8a‐abf6‐c5ef4849304f                                            Email Address Redacted           Email
43a8d0f8-a27c-4e2b-8c88-5dca35a23ebf                                            Email Address Redacted           Email
43a8d0f8-a27c-4e2b-8c88-5dca35a23ebf                                            Email Address Redacted           Email
4411c924‐31e3‐4198‐a6a3‐bcb36e95e314                                            Email Address Redacted           Email
444b159e-54f0-42fb-bf76-6949fc5c6720                                            Email Address Redacted           Email
444b159e-54f0-42fb-bf76-6949fc5c6720                                            Email Address Redacted           Email
44a5d52c-74bf-462e-b8fc-3f0b8d75ee0d                                            Email Address Redacted           Email
44a5d52c-74bf-462e-b8fc-3f0b8d75ee0d                                            Email Address Redacted           Email
44b79266-7db6-4491-be80-3c78f990deb6                                            Email Address Redacted           Email
4571ac2f-2a52-4fa3-9327-a86477dbd934                                            Email Address Redacted           Email
4571ac2f-2a52-4fa3-9327-a86477dbd934                                            Email Address Redacted           Email
45aa95yc-b168-4200-935680a0d1511d03                                             Email Address Redacted           Email
45ff1cfd-d45e-462d-a004-d1cde9c08fa8                                            Email Address Redacted           Email
45ff1cfd-d45e-462d-a004-d1cde9c08fa8                                            Email Address Redacted           Email
466d21ca-c87a-4d0d-a761-50f6d6b5d736                                            Email Address Redacted           Email
466d21ca-c87a-4d0d-a761-50f6d6b5d736                                            Email Address Redacted           Email
466ded2f-b3cb-44bd-8843-1c5370feceee                                            Email Address Redacted           Email
466ded2f-b3cb-44bd-8843-1c5370feceee                                            Email Address Redacted           Email
46a3fc52-6e86-47f6-9a45-7ab39a34da28                                            Email Address Redacted           Email
47934eee‐afa9‐42e4‐bc49‐9f776046fae0                                            Email Address Redacted           Email
47d300b6‐839b‐4c98‐949f‐9972f8f3dd91                                            Email Address Redacted           Email
47d300b6-839b-4c98-949f-9972f8f3dd91                                            Email Address Redacted           Email
47d300b6-839b-4c98-949f-9972f8f3dd91                                            Email Address Redacted           Email
492f0e66-137b-4a34-932d-de3492eaaf8e                                            Email Address Redacted           Email
4a51a248-e25d-4cf5-886a-5ad6b3320d0e                                            Email Address Redacted           Email
4ae8e24f-57b2-4f5e-896c-35e6eaafed56                                            Email Address Redacted           Email
4c545d83-bca7-4277-9848-b43baca13a54                                            Email Address Redacted           Email
4d031d28-fb7c-4d6e-ba40-ee440ba136f5                                            Email Address Redacted           Email
4d51a5d7‐9cd0‐4eb3‐86ac‐f5347d4019b7                                            Email Address Redacted           Email
4d529856‐d4de‐4d03‐b2ca‐47fb32047e6e                                            Email Address Redacted           Email
4d529856‐d4de‐4d03‐b2ca‐47fb32047e6e                                            Email Address Redacted           Email
4d789b4e-8f14-4e2a-8481-e9b80268d187                                            Email Address Redacted           Email
4db50cef-85f6-46dd-9a25-0cd0621b098d                                            Email Address Redacted           Email
4db50cef-85f6-46dd-9a25-0cd0621b098d                                            Email Address Redacted           Email
4f27fd19-bfa6-426b-b4da-b20d7e1b6789                                            Email Address Redacted           Email
4ff345b9‐e672‐49d4‐ab7c‐e53fd72557c7                                            Email Address Redacted           Email
4ff345b9-e672-49d4-ab7c-e53fd72557c7                                            Email Address Redacted           Email
4ff345b9-e672-49d4-ab7c-e53fd72557c7                                            Email Address Redacted           Email
5252eb33-0ff9-45e8-a739-46e130fd81ae                                            Email Address Redacted           Email
52e9ebf0-8eb1-4b43-8749-ddd66922edba                                            Email Address Redacted           Email
530619c7-ffae-4be4-bd88-9695796631be                                            Email Address Redacted           Email
55680d00-d21e-4afc-b228-9a7766815850                                            Email Address Redacted           Email
5625a530-109e-44e9-a69e-66803f6e3e8d                                            Email Address Redacted           Email
567838f1-de9d-4d75-8d99-e3635cbd429c                                            Email Address Redacted           Email
567838f1-de9d-4d75-8d99-e3635cbd429c                                            Email Address Redacted           Email
567838f1-de9d-4d75-8d99-e3635cbd429c                                            Email Address Redacted           Email
573df92b-43b5-446e-b404-f00ab4ed0ef1                                            Email Address Redacted           Email
573df92b-43b5-446e-b404-f00ab4ed0ef1                                            Email Address Redacted           Email
57842272-c0f2-42a0-9122-a1caa1fe401d                                            Email Address Redacted           Email
57842272-c0f2-42a0-9122-a1caa1fe401d                                            Email Address Redacted           Email




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                                                                 Service List


                     Name                              Address                                  Email                    Method of Service
585d6b27-fb2f-42e3-9801-8936aa5f71b5                                            Email Address Redacted           Email
5885e8f2-27fb-4290-9e2a-6d6b18640dd4                                            Email Address Redacted           Email
59fc7ae3-5bdf-4cd0-baac-41d069221683                                            Email Address Redacted           Email
5a39b3d9-8b62-4ca5-96a2-83990c6919a0                                            Email Address Redacted           Email
5b9e2afd-8a92-464e-9277-d913e0dd9286                                            Email Address Redacted           Email
5c9b1383-b22f-4809-adac-16435e126932                                            Email Address Redacted           Email
5cea522d-e51e-49c5-b480-03446929aaf5                                            Email Address Redacted           Email
5dad34ac-cfa5-4606-a6e9-510a78dd2ac1                                            Email Address Redacted           Email
5ea9f937-1118-40ec-9cec-0415d718a80a                                            Email Address Redacted           Email
5ea9f937-1118-40ec-9cec-0415d718a80a                                            Email Address Redacted           Email
636ce31d-6f9d-4a02-90e1-167bb52e6134                                            Email Address Redacted           Email
64501e0e-4bb1-4a7a-ab88-d8a35fc6753b                                            Email Address Redacted           Email
64832d9f-7907-4fd6-8627-7f0e1125ad9a                                            Email Address Redacted           Email
664c5e45-5014-4700-9177-f411c46dc7a5                                            Email Address Redacted           Email
66755ee5-1849-4856-98b8-eb55afbf1861                                            Email Address Redacted           Email
66cc8faf-1c7a-4482-887f-4207539d0a6d                                            Email Address Redacted           Email
6725189c-ab73-4635-b91e-8e9e3d61b407                                            Email Address Redacted           Email
68ea9af0-79db-4b8b-9736-b82c95eb9f6f                                            Email Address Redacted           Email
6913abc3-3c08-4428-8d73-fe06601fbdfe                                            Email Address Redacted           Email
6913abc3-3c08-4428-8d73-fe06601fbdfe                                            Email Address Redacted           Email
6b6d1abe‐041d‐49f8‐b009‐73d83ec95c2f                                            Email Address Redacted           Email
6b6d1abe‐041d‐49f8‐b009‐73d83ec95c2f                                            Email Address Redacted           Email
6ba2b6d1-2d89-441c-9644-df8ae944bf3b                                            Email Address Redacted           Email
6d28bd23‐7321‐4ef7‐9484‐197f4e7a2882                                            Email Address Redacted           Email
6d5fc95a-929c-4274-bf7f-bab4ca64c9e4                                            Email Address Redacted           Email
6f348eae‐00a0‐4977‐abe1‐47ef0e5b392e                                            Email Address Redacted           Email
702b0010-8577-4748-bf81-649a2cd89e7d                                            Email Address Redacted           Email
70bbf320-358c-43e9-b304-35ea1621fc2e                                            Email Address Redacted           Email
71032af7‐903c‐4c32‐bab0‐459d67d42252                                            Email Address Redacted           Email
71a81f18-4372-4398-b038-e7345c88c9c0                                            Email Address Redacted           Email
71e64fc2-51a7-4d02-bf1c-7bc221b2ac49                                            Email Address Redacted           Email
7424bc11-d92f-4caa-bcd7-9599f5d64284                                            Email Address Redacted           Email
7460f101-b137-4490-a26f-e9e8fd6470a5                                            Email Address Redacted           Email
7460f101-b137-4490-a26f-e9e8fd6470a5                                            Email Address Redacted           Email
75e1214f-e2e1-4c8e-93e4-b59c5a4ab60f                                            Email Address Redacted           Email
761b5817-a312-43c1-a730-2d18b2fcb5c6                                            Email Address Redacted           Email
761b5817-a312-43c1-a730-2d18b2fcb5c6                                            Email Address Redacted           Email
788c7c66-a7c4-4ddf-882a-c3015dfad64a                                            Email Address Redacted           Email
7aa93103-90a0-4eac-82f0-ad91739249e8                                            Email Address Redacted           Email
7aba2f36-fc29-4ff8-a029-f189ab2b534f                                            Email Address Redacted           Email
7aed5015-910e-4869-a752-6b9d91a1fda0                                            Email Address Redacted           Email
7aed5015-910e-4869-a752-6b9d91a1fda0                                            Email Address Redacted           Email
7b09be8d-2e89-4b89-ab3c-7ed6f7dc46e7                                            Email Address Redacted           Email
7d828a56-ef1f-429d-8657-218cd3fbdaf8                                            Email Address Redacted           Email
7de1db8e-651d-4a0f-9d43-9e90629e145a                                            Email Address Redacted           Email
7df923b8-3a66-4f41-935e-326c631d143b                                            Email Address Redacted           Email
7df923b8-3a66-4f41-935e-326c631d143b                                            Email Address Redacted           Email
7ed30bbd-c77c-4782-a70f-0e75dfb60a35                                            Email Address Redacted           Email
7f3fbe78-da9a-45c7-b56d-c9dd5be48302                                            Email Address Redacted           Email
7fca6056‐cdf6‐4791‐823c‐50835ecb05e4                                            Email Address Redacted           Email
7fca6056-cdf6-4791-823c-50835ecb05e4                                            Email Address Redacted           Email
7fca6056-cdf6-4791-823c-50835ecb05e4                                            Email Address Redacted           Email
7fca6056-cdf6-4791-823c-50835ecb05e4                                            Email Address Redacted           Email
8028b095-e406-4b5d-a48d-714319e72ace                                            Email Address Redacted           Email
8028b095-e406-4b5d-a48d-714319e72ace                                            Email Address Redacted           Email
81dd0974-0098-43ae-a9cd-fd8d1d500c67                                            Email Address Redacted           Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted           Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted           Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted           Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted           Email
851b589b-ac44-45c6-93bf-83fe02bc3c19                                            Email Address Redacted           Email
865201c3-bda6-4dbd-b7a0-dff9636efdf2                                            Email Address Redacted           Email
87258eaa-6103-4e8f-ae5f-dccc30f49e5e                                            Email Address Redacted           Email
872af493-d55a-49fb-a7d5-41625afea080                                            Email Address Redacted           Email
872af493-d55a-49fb-a7d5-41625afea080                                            Email Address Redacted           Email
8797ffc8-d166-44bd-9769-9cf47430104e                                            Email Address Redacted           Email
8797ffc8-d166-44bd-9769-9cf47430104e                                            Email Address Redacted           Email
8ad6efda-ad75-458a-8c58-d4ad9a1d5c01                                            Email Address Redacted           Email
8ad6efda-ad75-458a-8c58-d4ad9a1d5c01                                            Email Address Redacted           Email




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                                                                 Service List


                    Name                               Address                                  Email                Method of Service
8c2da035‐07d2‐41b9‐b4b4‐aa2849390f0e                                            Email Address Redacted       Email
8c2da035-07d2-41b9-b4b4-aa2849390f0e                                            Email Address Redacted       Email
8e71eae9-8767-4870-9070-614b5f2131be                                            Email Address Redacted       Email
8e71eae9-8767-4870-9070-614b5f2131be                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
909cca0f-2fe0-4c5f-b008-073fb9a320af                                            Email Address Redacted       Email
915d-6507-6b91-475b-9911-4cfc5204acd                                            Email Address Redacted       Email
921a1b4e-2fa0-4bac-b5f6-6eb3776a5d22                                            Email Address Redacted       Email
921a1b4e-2fa0-4bac-b5f6-6eb3776a5d22                                            Email Address Redacted       Email
925fc2b3-9c9d-47b6-a58f-d4cae7fd4fdf                                            Email Address Redacted       Email
925fc2b3-9c9d-47b6-a58f-d4cae7fd4fdf                                            Email Address Redacted       Email
9275e05c-4f5e-41bf-9ee3-e98675285410                                            Email Address Redacted       Email
9320a8e8‐8552‐4e88‐8e33‐0ebbbde95866                                            Email Address Redacted       Email
932f9005-c8af-45a1-8354-2f62b298d38c                                            Email Address Redacted       Email
93e78aa0-819c-4d16-aca4-a9d417d929d3                                            Email Address Redacted       Email
94b6f1e9‐afd6‐4831‐b5af‐d4585b56a282                                            Email Address Redacted       Email
94f85346-cac3-419c-81e0-20776be28f7c                                            Email Address Redacted       Email
94f85346-cac3-419c-81e0-20776be28f7c                                            Email Address Redacted       Email
960cda56-c495-41e3-8d19-c52b29960b33                                            Email Address Redacted       Email
966ad362-0910-4456-9335-86ccfb60eac9                                            Email Address Redacted       Email
966ad362-0910-4456-9335-86ccfb60eac9                                            Email Address Redacted       Email
96e1d8c0-b68d-4b0f-8450-8f342c58b880                                            Email Address Redacted       Email
9797f71d-a26e-4bcf-a9a2-51131b05755a                                            Email Address Redacted       Email
98215fd3-c589-45e2-b675-f518c44cfeb1                                            Email Address Redacted       Email
9917a3b5‐694a‐4476‐81ef‐1ff345182dba                                            Email Address Redacted       Email
9917a3b5-694a-4476-81ef-1ff345182dba                                            Email Address Redacted       Email
9917a3b5-694a-4476-81ef-1ff345182dba                                            Email Address Redacted       Email
9a917e23-5986-4873-bfa5-63cd7e5a65e6                                            Email Address Redacted       Email
9d018d4f‐0758‐4d26‐9674‐2c168e2c397d                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a249d390-8157-4ddd-a02e-4c007affb101                                            Email Address Redacted       Email
a303184c-3621-4e78-9dec-51f779324818                                            Email Address Redacted       Email
a303184c-3621-4e78-9dec-51f779324818                                            Email Address Redacted       Email
a5b8e4b9‐ca4d‐43a2‐9642‐2d4f6281d906                                            Email Address Redacted       Email
a5b8e4b9-ca4d-43a2-9642-2d4f6281d906                                            Email Address Redacted       Email
a5b8e4b9-ca4d-43a2-9642-2d4f6281d906                                            Email Address Redacted       Email
a5b8e4b9-ca4d-43a2-9642-2d4f6281d906                                            Email Address Redacted       Email
a6d50507-c689-4ab9-ba85-24f16b34e116                                            Email Address Redacted       Email
a6d50507-c689-4ab9-ba85-24f16b34e116                                            Email Address Redacted       Email
a9e0bb2-aea7-456e-b13d-f801ac4c0a70                                             Email Address Redacted       Email
aa7f2f55-6ee8-4236-bb0b-1401f3676500                                            Email Address Redacted       Email
aa7f2f55-6ee8-4236-bb0b-1401f3676500                                            Email Address Redacted       Email
aa8279f0-1437-49f0-80ee-ae27d09df9b0                                            Email Address Redacted       Email
aa836457-16f3-4cd4-8c5a-303eee844c5d                                            Email Address Redacted       Email
aaf47398-971b-406e-af13-8cf0416c5fd7                                            Email Address Redacted       Email
ab8e22fdf1524543bed0b0c2f92fed7                                                 Email Address Redacted       Email
abd31b73-a2e4-4de6-8153-47ef36699889                                            Email Address Redacted       Email
acb83416-fb65-479e-8a07-87382dcc102d                                            Email Address Redacted       Email
acf71b68-a822-43b9-9564-499a446a4a03                                            Email Address Redacted       Email
ad681479-71fd-4e38-ad6c-5254b0446500                                            Email Address Redacted       Email
ad78ba68-11e3-4abf-bdaf-ad82067ca78c                                            Email Address Redacted       Email
af177eb3-61ab-41b3-9d2d-f42fa71c3820                                            Email Address Redacted       Email
afb1aee8-043b-4fbf-9ebc-2b1b2a8aa3eb                                            Email Address Redacted       Email
b02cdab5-98e5-4988-ba84-6db7f833ffe2                                            Email Address Redacted       Email
b02cdab5-98e5-4988-ba84-6db7f833ffe2                                            Email Address Redacted       Email
b0a110d4-86dd-4252-b5e2-a60a13f222b6                                            Email Address Redacted       Email
b0a110d4-86dd-4252-b5e2-a60a13f222b6                                            Email Address Redacted       Email
b22fb0f2-f4e6-4d00-8002-4e672b36ca5e                                            Email Address Redacted       Email
b3250972-09d5-4084-81a3-2b27661bea09                                            Email Address Redacted       Email
b6e6ad2d-d93c-496d-b1a9-01768ae9fa47                                            Email Address Redacted       Email
b7361702‐7b5a‐46d9‐a158‐724d2f913074                                            Email Address Redacted       Email




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                                                                 Exhibit B
                                                                 Service List


                     Name                              Address                                  Email                Method of Service
b758b84b-779a-4015-a126-a28f5d762ca2                                            Email Address Redacted       Email
b7d45b7d‐4028‐4bcd‐8841‐ab43facfd0e2                                            Email Address Redacted       Email
b7eb6ca7-f9c8-467f-a0df-24f834e23cd3                                            Email Address Redacted       Email
b8be2e69-ed95-47f0-a531-ba96c240a0d8                                            Email Address Redacted       Email
b94a78b4-0455-474d-89c6-12809e3714b3                                            Email Address Redacted       Email
bb35a9ed-d046-4f78-81ca-8527d712b6af                                            Email Address Redacted       Email
bcc8bbaf-5448-4e6d-bd68-e5b4d8c45860                                            Email Address Redacted       Email
bd2ba01a-846d-8a43-5ba8ddfc44d5                                                 Email Address Redacted       Email
bed4d694-7489-44cb-8398-4220ad7e302d                                            Email Address Redacted       Email
bf8691e2-9596-4cfc-889d-87b8b3c8b712                                            Email Address Redacted       Email
c1e2b238-2260-4420-bd8c-788a515c281e                                            Email Address Redacted       Email
c1e2b238-2260-4420-bd8c-788a515c281e                                            Email Address Redacted       Email
c3180e4e-88b8-4d96-ab08-c46ec013cadd                                            Email Address Redacted       Email
c332efa3-b335-40bc-b8c4-c269e7ac043d                                            Email Address Redacted       Email
c332efa3-b335-40bc-b8c4-c269e7ac043d                                            Email Address Redacted       Email
c3c110de-7a76-408f-8495-5928b3602f6e                                            Email Address Redacted       Email
c55fd0eb-7314-4447-b0f2-0691a751b2ed                                            Email Address Redacted       Email
c56e18e0-e609-42a8-be27-8b832dcb9304                                            Email Address Redacted       Email
c628ddfc-2eae-4f38-9e01-f5d80ece6fda                                            Email Address Redacted       Email
c75f5d94-4ebe-477c-becd-4ea4ac7555ad                                            Email Address Redacted       Email
c7e14e81‐7233‐4392‐8d97‐c510f07d9948                                            Email Address Redacted       Email
c7e14e81‐7233‐4392‐8d97‐c510f07d9948                                            Email Address Redacted       Email
c7e14e81-7233-4392-8d97-c510f07d9948                                            Email Address Redacted       Email
c8850450‐7c4d‐4a9c‐85d8‐3252608aa81c                                            Email Address Redacted       Email
c8850450-7c4d-4a9c-85d8-3252608aa81c                                            Email Address Redacted       Email
c8850450-7c4d-4a9c-85d8-3252608aa81c                                            Email Address Redacted       Email
caedb6e0‐bf9a‐4846‐819a‐1f2428b213b4                                            Email Address Redacted       Email
cc96b810‐84af‐4871‐b58d‐33d4f8c6443f                                            Email Address Redacted       Email
cc96b810‐84af‐4871‐b58d‐33d4f8c6443f                                            Email Address Redacted       Email
cce06deb-4c1e-4120-9626-b9acd6edf9f3                                            Email Address Redacted       Email
cdd71b9c-8605-4f66-9650-9160699965ec                                            Email Address Redacted       Email
ce7997fa-1ffe-4a23-baec-f26c13d10524                                            Email Address Redacted       Email
ce9fabec‐8d0c‐4658‐aa1c‐b473f0fe8bc3                                            Email Address Redacted       Email
ce9fabec‐8d0c‐4658‐aa1c‐b473f0fe8bc3                                            Email Address Redacted       Email
cf06f084‐ec30‐4e64‐9bc8‐f633fff1c0f4                                            Email Address Redacted       Email
cfb03a0a-8f4c-4cea-a5af-f4dd4911ae68                                            Email Address Redacted       Email
cfb5a779-48a5-401f-aafc-5af7565045fc                                            Email Address Redacted       Email
d09f236f-6412-4185-9605-8cd543ad7558                                            Email Address Redacted       Email
d29d8e76-355e-46e5-a356-d89d67b547ae                                            Email Address Redacted       Email
d32c2825-c451-4985-b09b-e35f98144bc1                                            Email Address Redacted       Email
d3a029c1-a412-4413-b2a0-a607fbed9487                                            Email Address Redacted       Email
d3c3c0bf-d31f-402e-ba90-a2fae7f8fa7f                                            Email Address Redacted       Email
d651454b‐af59‐43ea‐b100‐af213493a1c6                                            Email Address Redacted       Email
d6c0d8fc-9da0-464f-b11c-71ac6cce6f9b                                            Email Address Redacted       Email
d6d4a495‐b0a2‐435e‐b10f‐073262e550ba                                            Email Address Redacted       Email
d6d4a495-b0a2-435e-b10f-073262e550ba                                            Email Address Redacted       Email
d6d4a495-b0a2-435e-b10f-073262e550ba                                            Email Address Redacted       Email
d6eb57e5-2095-4d9e-8a2a-c8611ec17b68                                            Email Address Redacted       Email
d76041cb-5d1c-425a-bfd1-818a7fdb3b92                                            Email Address Redacted       Email
d76041cb-5d1c-425a-bfd1-818a7fdb3b92                                            Email Address Redacted       Email
d7cf3137‐ba5b‐4b02‐b3f9‐b008ba6b8255                                            Email Address Redacted       Email
d7d722ee-ab78-458e-bcb5-6ae885ed879f                                            Email Address Redacted       Email
d8477cae-9d76-4e10-a35a-432be71c712a                                            Email Address Redacted       Email
d8477cae-9d76-4e10-a35a-432be71c712a                                            Email Address Redacted       Email
d84b837e-7c45-4220-9d3f-58218d0bdc3d                                            Email Address Redacted       Email
d8e9d4d5-5e29-4bbd-987e-4a8994ab1a3a                                            Email Address Redacted       Email
d97a2657‐8b43‐4e74‐b7bd‐cdded95f3740                                            Email Address Redacted       Email
dbc8567b-25fe-4c11-89d9-2fb3d6b57f0b                                            Email Address Redacted       Email
dca17422-7784-4454-9c89-c2127b69727f                                            Email Address Redacted       Email
dd12e349‐483a‐4bb2‐af19‐85f2b0c5fad6                                            Email Address Redacted       Email
de534847-f74c-4747-9317-1610d1028972                                            Email Address Redacted       Email
e027cfe5‐d1a5‐4deb‐9d9c‐81e9cf6f0c88                                            Email Address Redacted       Email
e027cfe5-d1a5-4deb-9d9c-81e9cf6f0c88                                            Email Address Redacted       Email
e027cfe5-d1a5-4deb-9d9c-81e9cf6f0c88                                            Email Address Redacted       Email
e03eb9a0‐f5cc‐4dbb‐a8dd‐d96abba92090                                            Email Address Redacted       Email
e03eb9a0‐f5cc‐4dbb‐a8dd‐d96abba92090                                            Email Address Redacted       Email
e03eb9a0-f5cc-4dbb-a8dd-d96abba92090                                            Email Address Redacted       Email
e179f920‐816e‐40a0‐8e0d‐85822ea646ae                                            Email Address Redacted       Email
e1f24679-8639-4dfb-92b5-1bcfe983af3e                                            Email Address Redacted       Email




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                                                                                    Exhibit B
                                                                                    Service List


                     Name                                                Address                                   Email               Method of Service
e263e06c‐afd0‐4980‐b667‐1ac9fbcfcfd0                                                               Email Address Redacted       Email
e4673b96-90a6-4ad3-a78f-95239af363b7                                                               Email Address Redacted       Email
e4811dae-c3ba-44bf-b81d-08c7906398b1                                                               Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                                               Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                                               Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                                               Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                                               Email Address Redacted       Email
e4f32d05-b94c-491e-9e27-fd55e14249b1                                                               Email Address Redacted       Email
e536ee84-8867-48a8-a7e6-4b0b4bac463f                                                               Email Address Redacted       Email
e536ee84-8867-48a8-a7e6-4b0b4bac463f                                                               Email Address Redacted       Email
e53b956d-0512-4ab8-9e2e-6b8e3f824103                                                               Email Address Redacted       Email
e78c3b97-de6d-44e2-a04d-64bd1130618a                                                               Email Address Redacted       Email
e78c3b97-de6d-44e2-a04d-64bd1130618a                                                               Email Address Redacted       Email
e79a3c21-b09e-4619-b7a7-05634c6199ce                                                               Email Address Redacted       Email
e8087e12-e9d2-4a6e-8d09-410de1cee938                                                               Email Address Redacted       Email
e8087e12-e9d2-4a6e-8d09-410de1cee938                                                               Email Address Redacted       Email
e833de66‐47d9‐4e03‐9589‐6417ce27ef2f                                                               Email Address Redacted       Email
e8530b56-e920-4dfd-954c-2d61257992b5                                                               Email Address Redacted       Email
e93ab91a-2aa8-4763-87c9-71369a7235ed                                                               Email Address Redacted       Email
e93o7589-d395-445d-aaa9-b31eeb5efaa2                                                               Email Address Redacted       Email
e93o7589-d395-445d-aaa9-b31eeb5efaa2                                                               Email Address Redacted       Email
e9f9e3a7‐abf9‐4038‐8e64‐9a954f414e37                                                               Email Address Redacted       Email
eaded8ed-a444-44a4-a725-531f52458097                                                               Email Address Redacted       Email
eaded8ed-a444-44a4-a725-531f52458097                                                               Email Address Redacted       Email
ec5a4c96‐24d3‐456d‐be98‐6344cf2fc82b                                                               Email Address Redacted       Email
ec5a4c96‐24d3‐456d‐be98‐6344cf2fc82b                                                               Email Address Redacted       Email
ed165dd2-b465-4880-af2e-008aab31da5c                                                               Email Address Redacted       Email
ed8104fc-f3f7-4da2-aafe-b4d309eb5912                                                               Email Address Redacted       Email
ed8104fc-f3f7-4da2-aafe-b4d309eb5912                                                               Email Address Redacted       Email
eec4ebd1‐a6b9‐4129‐b3fe‐71bf4cd41f54                                                               Email Address Redacted       Email
eec4ebd1-a6b9-4129-b3fe-71bf4cd41f54                                                               Email Address Redacted       Email
efd6c4bc‐3b71‐4c6a‐be2d‐2833699f58e6                                                               Email Address Redacted       Email
f0dc284c-2518-482e-9827-53006fdaeb8e                                                               Email Address Redacted       Email
f227170c-3f57-4b4d-af2a-06e5f683d826                                                               Email Address Redacted       Email
f4324b55-ccc1-46f1-959d-61ab887a5472                                                               Email Address Redacted       Email
f508cf77-3535-44ec-85e3-9c467a7df1c5                                                               Email Address Redacted       Email
f508cf77-3535-44ec-85e3-9c467a7df1c5                                                               Email Address Redacted       Email
f600abde-a7b8-4abf-8bc2-10a99396189d                                                               Email Address Redacted       Email
f6404797-ab2e-4b64-8934-2bf7c72bd60d                                                               Email Address Redacted       Email
f65c3dbb-cf39-4aba-903a-e1753cf62e62                                                               Email Address Redacted       Email
f6caa97b-6b55-4f2f-9d51-7dbc1e3861bf                                                               Email Address Redacted       Email
fa8c542e-31cd-4de7-95dc-3cfae34e87a8                                                               Email Address Redacted       Email
fb0ca3fd‐26a5‐412e‐9deb‐8f62da0b480a                                                               Email Address Redacted       Email
fbb4f62b-4a3b-43de-bf9e-095c530d4637                                                               Email Address Redacted       Email
REDACTED CUSTOMER CLAIM                                                                            Email Address Redacted       Email
Redacted Customer Claim                                Address Redacted                                                         Overnight Mail
Womble Bond Dickinson (US) LLP                         Attn: Donald J. Detweiler                   don.detweiler@wbd‐us.com     Email
                                                       Attn: Elazar A. Kosman                      elazar. kosman@wbd‐us.com
                                                       1313 N Market St, Ste 1200
                                                       Wilmington, DE 19801
00835256-156c-4034-88d4-97ec44c2328a                                                               Email Address Redacted       Email
0114e11d-ebbd-4698-9f68-86ff4a97975d                                                               Email Address Redacted       Email
018019e3-fbc0-4835-a5c9-651070be4b95                                                               Email Address Redacted       Email
0275bbeb-97a3-4d4e-ac78-05685c1fdbfe                                                               Email Address Redacted       Email
03a06c01-4cf7-4770-9146-73be396538f2                                                               Email Address Redacted       Email
03a06c01-4cf7-4770-9146-73be396538f2                                                               Email Address Redacted       Email
04b61f84-6c76-458a-9a71-53b7facea8ed                                                               Email Address Redacted       Email
0991056b-3fdc-48dd-be4d-c16bf486fbc9                                                               Email Address Redacted       Email
0be33523-4bdc-4b56-84cd-a1bec7ce257c                                                               Email Address Redacted       Email
0d9f8674-37af-4d8e-99af-8852eb6da100                                                               Email Address Redacted       Email
0d9f8674-37af-4d8e-99af-8852eb6da100                                                               Email Address Redacted       Email
0f975d00-6d1f-4b8b-a154-84fa818e2040                                                               Email Address Redacted       Email
13bfd27a-fa57-4a51-a614-35e725776724                                                               Email Address Redacted       Email
141186a4-3912-403e-9f20-8169955759f4                                                               Email Address Redacted       Email
1508f13c-a6bc-4d31-907b-b68e74970964                                                               Email Address Redacted       Email
1864cf4a-57b3-4b5c-9700-12cf8d1ba134                                                               Email Address Redacted       Email
198ee0a5-506c-461f-b631-beac3b33b067                                                               Email Address Redacted       Email
1a609609-6038-46b9-9842-872e52f35b43                                                               Email Address Redacted       Email
1b160e4d-7649-493f-94a9-25a31f7ec8d2                                                               Email Address Redacted       Email




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                                                                 Service List


                     Name                              Address                                  Email                Method of Service
1b160e4d-7649-493f-94a9-25a31f7ec8d2                                            Email Address Redacted       Email
1b160e4d-7649-493f-94a9-25a31f7ec8d2                                            Email Address Redacted       Email
1f718553-8235-402a-87d0-c39af7453971                                            Email Address Redacted       Email
1fbe8eef-0e44-4a1d-aa37-c8383fe57149                                            Email Address Redacted       Email
21102589-fe62-43e3-aac3-28d0f849d704                                            Email Address Redacted       Email
228fb91e-a621-48dd-9932-d3deba3e288e                                            Email Address Redacted       Email
228fb91e-a621-48dd-9932-d3deba3e288e                                            Email Address Redacted       Email
2299b15f-05c5-4a38-a661-642985fc1e26                                            Email Address Redacted       Email
254628e5-30cd-4afb-a13a-e5c67306c74f                                            Email Address Redacted       Email
258fbc4f-9328-429d-8a01-6b16dd9be654                                            Email Address Redacted       Email
277e0870-133f-4e0d-b671-9dc3bf937cda                                            Email Address Redacted       Email
277e0870-133f-4e0d-b671-9dc3bf937cda                                            Email Address Redacted       Email
29caa0e1-5f21-459b-8578-992c00e014cc                                            Email Address Redacted       Email
2aac9d2e-4251-4cd9-96e1-95139a601a2c                                            Email Address Redacted       Email
2c08232d-6c16-4b72-a86d-3fb5eb98295d                                            Email Address Redacted       Email
2d514cf4-e786-466c-a1eb-32d93659170d                                            Email Address Redacted       Email
2fbd5db8-7691-4ab9-9305-c65bdb5796de                                            Email Address Redacted       Email
30c1441f-8493-4745-8d0a-afde162c9b6e                                            Email Address Redacted       Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                             Email Address Redacted       Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                             Email Address Redacted       Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                             Email Address Redacted       Email
333e7a81-a47d-4d3f-acba-f3058c027fd                                             Email Address Redacted       Email
3369e8bc-b51e-443e-bf2d-ae07a7028e10                                            Email Address Redacted       Email
34eaa401-57fd-411e-ad5a-00b95aef8e26                                            Email Address Redacted       Email
35ba7d14-dc3e-4fc0-986f-dec5d32f1db3                                            Email Address Redacted       Email
35f5238b-29f6-42db-b20c-8c1af04ca70d                                            Email Address Redacted       Email
38047a39-4c1f-45d4-989b-5b0365bf8538                                            Email Address Redacted       Email
39fc8f60-a28b-4c26-ade4-67d2ab1031ac                                            Email Address Redacted       Email
3aced941-39ae-4c51-ba60-6339b66ca422                                            Email Address Redacted       Email
3ad9385e-779c-4dfe-a0f2-ea2b9c3ebcc4                                            Email Address Redacted       Email
3b8dcf7f-e835-4051-95d5-76d329ce6a71                                            Email Address Redacted       Email
3d567d07-d570-45c0-a10a-cea3ff499650                                            Email Address Redacted       Email
3f6dcaee-5d48-4f31-b69e-8aca7b9b40f6                                            Email Address Redacted       Email
413b01e8-2c32-4d13-b4c3-9ac76ff458c5                                            Email Address Redacted       Email
431110ae-474b-4b0b-bf5d-de8d38dade13                                            Email Address Redacted       Email
444b159e-54f0-42fb-bf76-6949fc5c6720                                            Email Address Redacted       Email
44a5d52c-74bf-462e-b8fc-3f0b8d75ee0d                                            Email Address Redacted       Email
4571ac2f-2a52-4fa3-9327-a86477dbd934                                            Email Address Redacted       Email
4571ac2f-2a52-4fa3-9327-a86477dbd934                                            Email Address Redacted       Email
4571ac2f-2a52-4fa3-9327-a86477dbd934                                            Email Address Redacted       Email
47934eee-afa9-42e4-bc49-9f776046fae0                                            Email Address Redacted       Email
4a9955c3-c394-4a64-81d4-5dc29edb8473                                            Email Address Redacted       Email
4ae8e24f-57b2-4f5e-896c-35e6eaafed56                                            Email Address Redacted       Email
4bde6254-4a56-47b5-b44c-7380047d6c39                                            Email Address Redacted       Email
4c0ee8ef-9e76-46ca-bdd5-23586f529e31                                            Email Address Redacted       Email
4eeda945-846d-4b98-afb9-cf03cd03215e                                            Email Address Redacted       Email
4f27fd19-bfa6-426b-b4da-b20d7e1b6789                                            Email Address Redacted       Email
4f27fd19-bfa6-426b-b4da-b20d7e1b6789                                            Email Address Redacted       Email
4f49ab09-8a7a-4f8b-8382-61065c2e7294                                            Email Address Redacted       Email
51831b62-00ce-42c5-b0c3-769685442df0                                            Email Address Redacted       Email
51831b62-00ce-42c5-b0c3-769685442df0                                            Email Address Redacted       Email
51e934c6-7fa2-43a9-a033-7a5b35a36be8                                            Email Address Redacted       Email
537ba7b8-bb62-41a2-955e-bd2bfc0eefae                                            Email Address Redacted       Email
567838f1-de9d-4d75-8d99-e3635cbd429c                                            Email Address Redacted       Email
567838f1-de9d-4d75-8d99-e3635cbd429c                                            Email Address Redacted       Email
573df92b-43b5-446e-b404-f00ab4ed0ef1                                            Email Address Redacted       Email
577cec3a-554c-48a0-a762-6c8abae3375b                                            Email Address Redacted       Email
577cec3a-554c-48a0-a762-6c8abae3375b                                            Email Address Redacted       Email
5827b7a9-c04a-496f-ab6e-d6adb6c6f16d                                            Email Address Redacted       Email
5a8ca299-e334-4574-a24a-df24d663da32                                            Email Address Redacted       Email
5cd9d25b-b1fe-44fc-b26a-f8c42df87e08                                            Email Address Redacted       Email
5cf6ea15-c92f-4bb1-9b5a-668abb790828                                            Email Address Redacted       Email
5ea9f937-1118-40ec-9cec-0415d718a80a                                            Email Address Redacted       Email
636ce31d-6f9d-4a02-90e1-167bb52e6134                                            Email Address Redacted       Email
649ae405-c364-4928-a7ab-4745a09f858f                                            Email Address Redacted       Email
649ae405-c364-4928-a7ab-4745a09f858f                                            Email Address Redacted       Email
66613173-6c7f-4bb0-a0aa-3b8858eb1150                                            Email Address Redacted       Email
67a390e1-55e1-4f51-a2d3-42884e246bb3                                            Email Address Redacted       Email
6804ceb5-ed97-4e8d-929a-01d231d171fd                                            Email Address Redacted       Email




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                                                                 Exhibit B
                                                                 Service List


                     Name                              Address                                  Email                Method of Service
680e2661-ba19-4d61-be57-e76b420dglde                                            Email Address Redacted       Email
68e25c01-3fc1-4079-a4ef-ee4a9107bf10                                            Email Address Redacted       Email
69d4a97b-6710-430e-84ba-4981ffff76b9                                            Email Address Redacted       Email
6a298ba2-e39a-4cf8-97f4-c8327876a4ca                                            Email Address Redacted       Email
6a298ba2-e39a-4cf8-97f4-c8327876a4ca                                            Email Address Redacted       Email
6b085907-64b9-4e98-929f-8d94b36648a1                                            Email Address Redacted       Email
6b085907-64b9-4e98-929f-8d94b36648a1                                            Email Address Redacted       Email
6ba2b6d1-2d89-441c-9644-df8ae944bf3b                                            Email Address Redacted       Email
6ba2b6d1-2d89-441c-9644-df8ae944bf3b                                            Email Address Redacted       Email
6c03fc7b-c34d-45a6-ab77-a6b7125c9554                                            Email Address Redacted       Email
6f348eae-00a0-4977-abe1-47ef0e5b392e                                            Email Address Redacted       Email
727d6ce9-eaea-4255-8e72-72080db2d1a4                                            Email Address Redacted       Email
72f531dd-ca72-4301-be9d-357a65738fcf                                            Email Address Redacted       Email
734f3628-0f0c-472d-9a4d-9131ea90c1db                                            Email Address Redacted       Email
734f3628-0f0c-472d-9a4d-9131ea90c1db                                            Email Address Redacted       Email
7460f101-b137-4490-a26f-e9e8fd6470a5                                            Email Address Redacted       Email
7462eac3-520f-4618-9782-5d47a9d1c382                                            Email Address Redacted       Email
75e4d2af-21d6-488a-b6c2-3b3c1b32d3b0                                            Email Address Redacted       Email
761b5817-a312-43c1-a730-2d18b2fcb5c6                                            Email Address Redacted       Email
761b5817-a312-43c1-a730-2d18b2fcb5c6                                            Email Address Redacted       Email
77e43914-e0c2-403e-852b-58d596a0d983                                            Email Address Redacted       Email
7cd2e025-adb8-45b5-a022-77103c01102d                                            Email Address Redacted       Email
7cd2e025-adb8-45b5-a022-77103c01102d                                            Email Address Redacted       Email
7d2d69a9-84ca-46b4-bff5-d0460e57a84a                                            Email Address Redacted       Email
8028b095-e406-4b5d-a48d-714319e72ace                                            Email Address Redacted       Email
8028b095-e406-4b5d-a48d-714319e72ace                                            Email Address Redacted       Email
84561250-ad55-4c7e-ba0e-07de9009fd53                                            Email Address Redacted       Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted       Email
84eeaa25-1ff2-49d5-9916-0e77a49f9497                                            Email Address Redacted       Email
86ca71ef-64aa-43be-8b9e-6bf6eb96b1ab                                            Email Address Redacted       Email
88c55287-82cb-4b2c-b171-bba370e5a7cc                                            Email Address Redacted       Email
89a673a7-bda0-467c-8008-7ff3655e4ead                                            Email Address Redacted       Email
8ad6efda-ad75-458a-8c58-d4ad9a1d5c01                                            Email Address Redacted       Email
8d5adcdf-e860-4677-82bb-bd6c96dcd583                                            Email Address Redacted       Email
8d5adcdf-e860-4677-82bb-bd6c96dcd583                                            Email Address Redacted       Email
8e71ac52-14a9-46d3-8c0d-3ef77fc25a7d                                            Email Address Redacted       Email
8e71ac52-14a9-46d3-8c0d-3ef77fc25a7d                                            Email Address Redacted       Email
8e87a6a4-86cb-4589-86e8-532539dbc9c4                                            Email Address Redacted       Email
8e87a6a4-86cb-4589-86e8-532539dbc9c4                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
8f6b40d3-fed9-4d65-b309-c83c319558c5                                            Email Address Redacted       Email
9090ce7d-f118-4e95-8718-d88b174d7447                                            Email Address Redacted       Email
9090ce7d-f118-4e95-8718-d88b174d7447                                            Email Address Redacted       Email
9270d0b1-54b8-49c0-b106-59285a431742                                            Email Address Redacted       Email
92b14bcd-87f7-4c4b-8e99-6752860e8064                                            Email Address Redacted       Email
934b7d02-2cca-4559-a20a-495e1a74c7ee                                            Email Address Redacted       Email
93a38f05-a929-464c-a421-e6a3fc5a7bfb                                            Email Address Redacted       Email
95723b9b-9e1a-4fac-aa15-5f12b2f05170                                            Email Address Redacted       Email
960e15dc-8763-4f96-b812-fa7285fcdf91                                            Email Address Redacted       Email
96e1d8c0-b68d-4b0f-8450-8f342c58b880                                            Email Address Redacted       Email
99f74888-df0d-419a-bad4-4edf35fd096b                                            Email Address Redacted       Email
9a917e23-5986-4873-bfa563cd7e5a65e6                                             Email Address Redacted       Email
9d9a809d-a80e-43d1-b862-c2145d0f539b                                            Email Address Redacted       Email
9d9e0b29-981a-4509-bec0-d8268a8305ef                                            Email Address Redacted       Email
9d9e0b29-981a-4509-bec0-d8268a8305ef                                            Email Address Redacted       Email
9f2f2314-d7a1-4bfc-ab0c-62b119bd872b                                            Email Address Redacted       Email
9fe38e54-4be8-46fd-8c3d-6bd43dddc1ff                                            Email Address Redacted       Email
9fe38e54-4be8-46fd-8c3d-6bd43dddc1ff                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a14a2abb-1520-4324-8664-160d881d85ad                                            Email Address Redacted       Email
a1820944-d7fe-45ac-ad4d-21dc7447f27b                                            Email Address Redacted       Email
a22c2630-9121-4c96-be91-29067303eed0                                            Email Address Redacted       Email
a4b6f794-52a8-4ed8-8e94-7b9e976b34da                                            Email Address Redacted       Email
a547e9db-8f6c-4a6b-ba35-c5f888226ba1                                            Email Address Redacted       Email
a5b8e4b9-ca4d-43a2-9642-2d4f6281d906                                            Email Address Redacted       Email
a6b6f581-a020-44e5-badb-78d5c3136d7f                                            Email Address Redacted       Email
a72fac9c-1a45-40da-9330-7af49ba4f9e9                                            Email Address Redacted       Email




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                                                                 Service List


                     Name                              Address                                  Email                Method of Service
a75c5227-cbcc-4a4e-a305-bec75f4dbe3c                                            Email Address Redacted       Email
aa7f2f55-6ee8-4236-bb0b-1401f3676500                                            Email Address Redacted       Email
aa8279f0-1437-49f0-80ee-ae27d09df9b0                                            Email Address Redacted       Email
aa836457-16f3-4cd4-8c5a-303eee844c5d                                            Email Address Redacted       Email
aaf47398-971b-406e-af13-8cf0416c5fd7                                            Email Address Redacted       Email
ad78ba68-11e3-4abf-bdaf-ad82067ca78c                                            Email Address Redacted       Email
Adel Abbasi                                                                     Email Address Redacted       Email
Amirali Momenzadeh                                                              Email Address Redacted       Email
b02cdab5-98e5-4988-ba84-6db7f833ffe2                                            Email Address Redacted       Email
b02cdab5-98e5-4988-ba84-6db7f833ffe2                                            Email Address Redacted       Email
b37310a2-2ce7-48bb-8e0d-2f66b807c3c6                                            Email Address Redacted       Email
b6525e2d-caae-437a-98e6-f78c203a5bc0                                            Email Address Redacted       Email
b6525e2d-caae-437a-98e6-f78c203a5bc0                                            Email Address Redacted       Email
b7e00cae-befa-450f-8e43-a4c4099db6b0                                            Email Address Redacted       Email
b7eb6ca7-f9c8-467f-a0df-24f834e23cd3                                            Email Address Redacted       Email
b7eb6ca7-f9c8-467f-a0df-24f834e23cd3                                            Email Address Redacted       Email
b7f06cf8-ce02-4b07-9a93-308b485897c0                                            Email Address Redacted       Email
b8cc6e66-f8db-42cd-9189-fea0fbf62ace                                            Email Address Redacted       Email
b8d0754e-82ac-4379-b6d6-7a8a515f392f                                            Email Address Redacted       Email
ba8e2e65-8a94-43c9-8cb7-22b4334be0b6                                            Email Address Redacted       Email
ba8e2e65-8a94-43c9-8cb7-22b4334be0b6                                            Email Address Redacted       Email
bfb5f243-c103-4f61-bb17-e2bb34308520                                            Email Address Redacted       Email
c153ca6d-9a0c-485b-ab14-3ffd4bea11f2                                            Email Address Redacted       Email
c24b87ff-00e8-4f54-ae4c-18015f415aeb                                            Email Address Redacted       Email
c24b87ff-00e8-4f54-ae4c-18015f415aeb                                            Email Address Redacted       Email
c26e5f73-171f-4eea-bc2c-70ee6c570aca                                            Email Address Redacted       Email
c332efa3-b335-40bc-b8c4-c269e7ac043d                                            Email Address Redacted       Email
c355a8ed-0498-4bcb-bb9f-6d0311d3274a                                            Email Address Redacted       Email
c3c110de-7a76-408f-8495-5928b3602f6e                                            Email Address Redacted       Email
c5f3a694-b2f4-4950-b047-d1086d8a6384                                            Email Address Redacted       Email
c5f3a694-b2f4-4950-b047-d1086d8a6384                                            Email Address Redacted       Email
c6c7f56b-5d31-4d1a-adad-324222a28c15                                            Email Address Redacted       Email
ca9bb8d6-2861-4989-8e3f-00aa1560e0e5                                            Email Address Redacted       Email
cc0b0e36-1466-4694-b463-f1be181ea53                                             Email Address Redacted       Email
cc96b810-84af-4871-b58d-33d4f8c6443f                                            Email Address Redacted       Email
cd33d819-5e35-4c77-87c9-b119ed3e1c86                                            Email Address Redacted       Email
cd33d819-5e35-4c77-87c9-b119ed3e1c86                                            Email Address Redacted       Email
cd33d819-5e35-4c77-87c9-b119ed3e1c86                                            Email Address Redacted       Email
cd5ed1ed-47ca-4f6e-9f7c-c6d70bb5aaec                                            Email Address Redacted       Email
cdc7548c-022d-4bb8-8ed2-fc41d00e80ea                                            Email Address Redacted       Email
cdd71b9c-8605-4f66-9650-9160699965ec                                            Email Address Redacted       Email
ce0b7380-8430-4ce3-bbcf-e2a6f05c4e3b                                            Email Address Redacted       Email
d29d8e76-355e-46e5-a356-d89d67b547ae                                            Email Address Redacted       Email
d3c3c0bf-d31f-402e-ba90-a2fae7f8fa7f                                            Email Address Redacted       Email
d61de8b8-91b1-46ac-ba15-62dce7149445                                            Email Address Redacted       Email
d6d4a495-b0a2-435e-b10f-073262e550ba                                            Email Address Redacted       Email
d764ab2c-f9dd-409c-afa9-df14dee41043                                            Email Address Redacted       Email
d764ab2c-f9dd-409c-afa9-df14dee41043                                            Email Address Redacted       Email
d8109848-7b5b-4085-9205-dff0ece2d9fc                                            Email Address Redacted       Email
d8477cae-9d76-4e10-a35a-432be71c712a                                            Email Address Redacted       Email
d8477cae-9d76-4e10-a35a-432be71c712a                                            Email Address Redacted       Email
d854debd-19b9-48b3-9ccb-795bd51f762b                                            Email Address Redacted       Email
d854debd-19b9-48b3-9ccb-795bd51f762b                                            Email Address Redacted       Email
dca17422-7784-4454-9c89-c2127b69727f                                            Email Address Redacted       Email
dcbf597c-42ee-421f-9460-aca853ec3938                                            Email Address Redacted       Email
dcbf597c-42ee-421f-9460-aca853ec3938                                            Email Address Redacted       Email
dcbf597c-42ee-421f-9460-aca853ec3938                                            Email Address Redacted       Email
dd12e349-483a-4bb2-af19-85f2b0c5fad6                                            Email Address Redacted       Email
ddc614c1-19aa-4d9c-8071-7229adb14a2a                                            Email Address Redacted       Email
ddc614c1-19aa-4d9c-8071-7229adb14a2a                                            Email Address Redacted       Email
ded3d94e-6b3e-43a5-89d1-68ed5d8b7683                                            Email Address Redacted       Email
e027cfe5-d1a5-4deb-9d9c-81e9cf6f0c88                                            Email Address Redacted       Email
e027cfe5-d1a5-4deb-9d9c-81e9cf6f0c88                                            Email Address Redacted       Email
e22444b4-4df9-4e1e-a1cf-f8f7cbf367fa                                            Email Address Redacted       Email
e29066dd-7757-49c6-811e-9363df4484a4                                            Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                            Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                            Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                            Email Address Redacted       Email
e4e3c9f3-4ae0-41f3-a494-d58d0d7a91b8                                            Email Address Redacted       Email




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                                                                 Service List


                     Name                              Address                                  Email                Method of Service
e62b24e1-31f3-449f-996f-f57126f702cf                                            Email Address Redacted       Email
e62b24e1-31f3-449f-996f-f57126f702cf                                            Email Address Redacted       Email
e7306b74-1baa-4895-9091-d2836fa40a4b                                            Email Address Redacted       Email
e7d2ce4f-9532-46cb-a058-622cd30c1fbb                                            Email Address Redacted       Email
e81ca8df-5d5e-4702-80b3-81297bc15381                                            Email Address Redacted       Email
ecbbdfb4-44bf-413c-992d-17c2259b116c                                            Email Address Redacted       Email
ed8104fc-f3f7-4da2-aafe-b4d309eb5912                                            Email Address Redacted       Email
ee7cb8c0-353a-46f7-bbb0-5240e88b928e                                            Email Address Redacted       Email
ee7cb8c0-353a-46f7-bbb0-5240e88b928e                                            Email Address Redacted       Email
eec4ebd1-a6b9-4129-b3fe-71bf4cd41f54                                            Email Address Redacted       Email
ef8e3f3d-c250-4131-b882-82c1e512dc1c                                            Email Address Redacted       Email
f227170c-3f57-4b4d-af2a-06e5f683d826                                            Email Address Redacted       Email
f2bc730b-a279-4aed-9ad1-856ea35e82f2                                            Email Address Redacted       Email
f317632d-1391-4fce-8042-6fddd9297ab7                                            Email Address Redacted       Email
f4324b55-ccc1-46f1-959d-61ab887a5472                                            Email Address Redacted       Email
f4a17fef-e540-4296-b65a-53a7db7fb2d8                                            Email Address Redacted       Email
f4a17fef-e540-4296-b65a-53a7db7fb2d8                                            Email Address Redacted       Email
f4c224f2-38d9-4531-86b3-ef344ea19d5e                                            Email Address Redacted       Email
f4c224f2-38d9-4531-86b3-ef344ea19d5e                                            Email Address Redacted       Email
f508cf77-3535-44ec-85e3-9c467a7df1c5                                            Email Address Redacted       Email
f508cf77-3535-44ec-85e3-9c467a7df1c5                                            Email Address Redacted       Email
f53b4ddf-d852-4313-99d1-c82dd45d90be                                            Email Address Redacted       Email
f65c3dbb-cf39-4aba-903a-e1753cf62e62                                            Email Address Redacted       Email
f9f3aaac-6775-4a83-ae19-ef84858962e5                                            Email Address Redacted       Email
fa0cda8a-ada8-4d70-932a-43fdaf192be8                                            Email Address Redacted       Email
Shahriar Arabpour                                                               Email Address Redacted       Email




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